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                                     STATEMENT OF FACTS

       On January 6, 2021, permanent and temporary security barriers were in place to separate
areas where lawful first amendment activity could be conducted from areas restricted both to
prevent any adverse impact to the legislative process and to safeguard and prevent any property
damage directed at the U.S. Capitol and/or the West Front Inaugural Platform.
        These security barriers included bike racks that were positioned to the north of the U.S.
Capitol along Constitution Avenue; to the south of the U.S. Capitol along Independence Avenue;
to the west of the U.S. Capitol along First Street on the eastern side of that street; and, on the east
side of the U.S. Capitol, between the Capitol Plaza (East Front) and the grassy areas located
between the Plaza and First Street. This bounded area is hereinafter referred to as the “Restricted
Grounds.”
        Within the West Front of the Restricted Grounds there were additional temporary barriers
due to preparations and ongoing construction for the Inauguration including green snow fencing
and signage stating, “Area Closed By order of the United States Capitol Police Board.” The
exterior plaza of the U.S. Capitol was also closed to members of the public. The picture below
indicates that the entire area within the red lines is designated as a secure area with no public
access as previously referenced above as the “Area Closed By order of the United States Capitol
Police Board.”




               INFORMATION REGARDING GRADY DOUGLAS OWENS
       Your Affiant reviewed U.S. Capitol Surveillance Video, Open Source Videos, and
Washington, D.C. Metropolitan Police Department (“MPD”) Body Worn Camera (“BWC”)
footage capturing the events from January 6, 2021, in an attempt to identify unknown subjects
who assaulted law enforcement officers.
       During review of MPD Officer Paul Koyejo’s BWC footage, Affiant observed that at
approximately 2:00 p.m., Ofc. Koyejo was in a group of approximately 33 other MPD officers
walking through the West lawn of the United States Capitol grounds, responding to a U.S.
Capitol Police request for assistance due to an ongoing riot at the U.S. Capitol Building. All of
the MPD officers were wearing clearly marked MPD uniform markings.
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        While walking through a group of several unknown subjects who were positioned on the
West lawn of the U.S. Capitol Building, an unknown subject struck an officer in the head area
with a skateboard. The officer who struck was positioned in front of Ofc. Koyejo:




        The Ofc. Koyejo BWC footage shows that the subject appears to be a white male,
approximately 20-30 years of age, brown or black in color hair (long), average build, unshaven
face (small amount of facial hair on face), wearing a red jacket, a dark in color stocking cap with
an unknown letter on the hat, a black and white in color plaid shirt, and a bandana around his
neck. The skateboard used by the unknown subject had the words “White Fang” written in white
on the top portion of the skateboard.
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        Your Affiant provided Ofc. Koyejo’s BWC footage to the MPD, which identified the
officer who was struck by the unknown subject as Officer Christopher Boyle of the MPD Fourth
District.
        On January 15, 2021, Ofc. Boyle was interviewed. Ofc. Boyle reported responding to the
U.S. Capitol Building on January 6, 2021. While responding to the West side of the U.S.
Capitol, Ofc. Boyle and members of his Civil Disturbance Unit (“CDU”) were navigating a
crowd of unknown subjects when one of the unknown subjects struck Ofc. Boyle in the head
with a skateboard.
        Ofc. Boyle described the unknown subject as a white male, medium length long brown
hair, mid-20s, wearing a red jacket, white and black plaid shirt, and dark colored jeans.
       Ofc Boyle sustained a concussion and injury to his right pinky finger.
      A review of Ofc. Boyle’s BWC during the pertinent time shows the above described
unknown subject assault Ofc. Boyle with the skateboard, but due to the position of Ofc. Boyle’s
BWC it was unable to capture the skateboard hitting Ofc. Boyle in the head area:
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       Your Affiant captured a still image from Ofc. Boyle’s BWC of the unknown subject and
included the unknown subject on the FBI Wanted Poster for Assault on Federal Officers from the
U.S. Capitol riots on January 6, 2021. The unknown subject is listed in the FBI Wanted Poster
as Subject 109. The still image is as follows:




        On February 16, 2021, your Affiant was reviewing the Twitter page of
@SeditionHunters. This Twitter page is operated by a private citizen who is actively attempting
to assist Federal Law Enforcement in identifying subjects listed in the FBI Wanted Posters.
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       During a review of @SeditionHunters Twitter page, you Affiant reviewed a picture from
the Wanted Poster that included other pictures that appeared to be of the same unknown
individual:




        Your Affiant also located an open source video titled “Full Video: The Siege On United
States Capitol” on Youtube created by user Jayden X. In this video, FBI Unknown Subject 109
is seen interacting with a different Unknown Subject (“UNSUB 2”) in a manner which would
indicate Unknown Subject 109 knew or was familiar with UNSUB 2.




       UNSUB 2 is identified as a White male, wearing a light colored baseball style hat with
the words ‘Cactus Ropes Texas” written on the front, a green-in-color ski mask-style face and
head covering, a black backpack with a symbol in light color in the middle of the backpack, a
camouflage-type fleece with the word “Cabela’s” written in the middle, and gray pants.
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        On February 16, Affiant conducted an image search of the clearer picture obtained from
@SeditionHunters, and via an open source search, located an Instagram Profile belonging to
Instagram user grady_owens_, which had an Instagram identification number of 852472137.




        Further review of the Instagram profile picture of user grady_owens_, identified the
stocking cap worn in the profile picture appeared to be the same stocking cap with an unknown
letter worn by the unknown subject during the assault on federal officer occurring on January 6,
2021.
       On February 16, 2021, Instagram was served with a preservation letter under 18 U.S.C.
§ 2703(f) related to grady_owens_, Instagram identification number of 852472137.
       Your Affiant conducted an open-source search of vehicles registered to GRADY
OWENS and discovered the vehicle’s registration plates were being captured on License Plater
Readers (“LPR”s) at an apartment complex identified as Solis at Winter Park, in Winter Park,
Florida, and in a parking lot of Full Sail University in Winter Park, Florida.
       FBI Tampa Field Office Special Agent (“SA”) Jonathan Hannigan met with property
management from Solis at Winter Park Apartment Complex who confirmed a GRADY OWENS
resided at the apartment complex in unit 1428, based off registered vehicle information provided
to management.
         A copy of the apartment lease was provided to SA Hannigan and SA Steven Snyder
identifying a JASON OWENS as the emergency contact for GRADY OWENS. In the
emergency contact portion of the lease, it further identified a phone number for JASON OWENS
of 830-392-6199 and a work phone number of 210-557-2687. An address was listed for JASON
OWENS of 3108 Rolling Hills Rd., Blanco, Texas. The 3108 Rolling Hills Rd., Blanco, Texas
address is also listed as a residence for GRADY OWENS via open source searches.
        SA Hannigan conducted a review of Instagram User grady_owens_ Instagram account,
which is open to public viewing, and noted the user was involved with Music Production courses
of study at Full Sail University.
       On March 2nd, 2021, SA Hannigan met with a security employee of Full Sail University,
who identified possible faculty associated with GRADY OWENS. On March 3, 2021 SA
Hannigan met with an employee (“Witness 1”) of Full Sail University.
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      Witness 1 was shown Instagram User grady_owens_ profile picture with all identification
removed. Witness 1 immediately identified the Instagram User as GRADY OWENS.




       Witness 1 was then shown a picture captured from the Youtube video utilized by Twitter
@SeditionHunters. No identifiable information was present on the photograph shown to Witness
1. Witness 1 immediately identified the picture as GRADY OWENS.




       Your Affiant learned through law enforcement contacts that GRADY OWENS traveled
to Dulles International Airport on January 5, 2021 via United Flight number 00691, from San
Antonio, Texas. GRADY OWENS departed from Reagan National Airport on January 7, 2021
via United Flight number 3454, to San Antonio, Texas.
       Your Affiant served a Grand Jury Subpoena to United Airlines requesting information
from the flights GRADY OWENS had taken to the Washington, D.C. area.
      On March 24, 2021, United Airlines provided flight manifests and booking information
for GRADY OWENS’ ticketed travel.
       A review of the returned United Airlines information revealed a JASON D. OWENS had
purchased airline tickets for GRADY OWENS and JASON D. OWENS for travel to the
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Washington, D.C. area. Further included with the booking information was an address of 3108
Rolling Hills Road, Blanco, Texas associated with JASON D. OWENS.
       JASON DOUGLAS OWENS was identified as the father of GRADY OWENS and based
upon the aforementioned travel information, your Affiant believed that JASON DOUGLAS
OWENS had traveled with GRADY OWENS to the Washington, D.C. area between January 5,
2021 and January 7, 2021.
               INFORMATION RELATED TO JASON DOUGLAS OWENS

       According to records obtained through a search warrant which was served on AT&T, on
January 6, 2021, in and around the time of the incident, the cellphone 830-392-6199 (Apple
iPhone XR) was identified as having utilized a cell site consistent with providing service to a
geographic area that included the interior of the United States Capitol building. This is the same
phone number listed for the emergency contact, JASON OWENS, on the Solis at Winter Park
Apartment Complex lease agreement for GRADY OWENS.

         According to records obtained through a search warrant which was served on Verizon, on
January 6, 2021, in and around the time of the incident, the cellphone 210-557-2687 was
identified as having utilized a cell site consistent with providing service to a geographic area that
included the interior of the United States Capitol building. This is the same work phone number
listed for the emergency contact, JASON OWENS, on the Solis at Winter Park Apartment
Complex lease agreement for GRADY OWENS.
       A Grand Jury subpoena was sent to Verizon for cellular phone number 210-557-2687.
Verizon returned the subpoena information and identified the phone number associated with a
business identified as St. Shared Services LLC, and listed JASON OWENS as a contact person.
       A Grand Jury subpoena was sent to AT&T for cellular phone number 830-392-6199
AT&T returned the subpoena information and identified the phone number was associated with
an account controlled by JASON DOUGLAS OWENS.
        On April 1, 2021, GRADY DOUGLAS OWENS was arrested by FBI Special Agents at
his residence located at Solis at Winter Park Apartment Complex, unit 1428 pursuant to a U.S.
District Court for the District of Columbia complaint and arrest warrant.
       During the arrest of GRADY DOUGLAS OWENS, FBI Special Agents from the Tampa
Field Office met with Witness 2, a person familiar with GRADY DOUGLAS OWENS and
JASON DOUGLAS OWENS.
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       Witness 2 was shown the following Subject 109 FBI Wanted Photo:




       Witness 2 was also shown the following photo of UNSUB 2:




        Witness 2 identified the FBI photo of Subject 109 as GRADY DOUGLAS OWENS, and
identified the photo of UNSUB 2 as JASON DOUGLAS OWENS. Witness 2 also identified the
hat worn by GRADY DOUGLAS OWENS on January 6, 2021 and stated that it appeared to be
his hat, though Witness 2 stated that they had not seen the hat recently.
        Further, a search warrant was executed at the residence of GRADY DOUGLAS
OWENS, identified as Solis at Winter Park Apartment Complex, unit 1428, on April 1, 2021.
FBI Special Agents from the Tampa Field Office located a red in color jacket, which appeared to
be the same jacket as worn by GRADY DOUGLAS OWENS on January 6, 2021.
        Your Affiant was contacted by FBI Special Agents in Winter Park and advised of the
identifications by Witness 2, including UNSUB 2 as JASON DOUGLAS OWENS.
       Your Affiant began reviewing video of the assault by GRADY DOUGLAS OWENS, to
determine if JASON DOUGLAS OWENS was also involved in any assaults.
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       During the review of MPD Ofc. Koyejo’s BWC, Affiant located JASON DOUGLAS
OWENS shoving an unknown MPD Officer immediately after the assault by GRADY
DOUGLAS OWENS on MPD Ofc. C. Boyle. The unknown MPD Officer’s head can be seen
going backward after the shove.




      Your Affiant was able to identify the MPD Officer as Officer N. Duckett.
      Your Affiant reviewed Ofc. Duckett’s BWC, identified with serial number X6039BKH5,
and was able to observe JASON DOUGLAS OWENS making physical contact with Ofc.
Duckett.
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    Your Affiant reviewed the Twitter page @Seditionhunters and observed JASON
DOUGLAS OWENS has been given the Twitter hashtag of #Cactusropes.
         Further, a photograph obtained from @Seditionhunters showed JASON DOUGLAS
OWENS with his hands on MPD Officers (circled in red) at what appeared to be the same time
as the assault on Ofc. Duckett. Ofc. Ducket is circled in yellow. This picture also captures
GRADY DOUGLAS OWENS bent over behind JASON DOUGLAS OWENS and he is circled
in light blue.




       During the execution of the arrest and search warrant at GRADY DOUGLAS OWENS
residence, a second search warrant was executed at 3108 Rolling Hills Road, Blanco, Texas, the
residence of JASON DOUGLAS OWENS, by FBI Special Agents from the San Antonio (Austin
RA) Field Office.
       Your Affiant provided information obtained from Witness 2 and review of video to FBI
Agents conducting the search of 3108 Rolling Hills Rd., Blanco, Texas.
        FBI Special Agents interviewed JASON DOUGLAS OWENS during the execution of
the search warrant.
        JASON DOUGLAS OWENS stated to the interviewing FBI Special Agents that he had
traveled to Washington, D.C. on January 5, 2021 via United Airlines, and was in Washington,
D.C. with his eldest son, GRADY DOUGLAS OWENS, and other family members to show
support for President Trump and the country.
       JASON DOUGLAS OWENS confirmed his two phone numbers of 210-557-2687 and
830-392-6199 and admitted he had both phones with him on January 6, 2021. JASON
DOUGLAS OWENS and members of his party also brought Motorola radios to communicate
with each other.
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       JASON DOUGLAS OWENS stated that on January 6, 2021, he and his son, GRADY
DOUGLAS OWENS, were separated from their group, and made their way to the U.S. Capitol
Building on the lawn near scaffolding. JASON DOUGLAS OWENS was momentarily
separated from his son, but was able to reunite with him shortly after being separated.
    JASON DOUGLAS OWENS was shown still photographs of GRADY DOUGLAS
OWENS that were captured from MPD BWC and identified his son in the photographs.
    JASON DOUGLAS OWENS was shown still photographs of UNSUB 2 and identified
UNSUB 2 as himself.
       During the search of the residence at 3108 Rolling Hills Rd., Blanco, Texas, FBI Special
Agents located the camouflage fleece jacket, gray jeans, and a Bruno Cavalli black backpack
worn by JASON DOUGLAS OWENS on January 6, 2021, and a plaid gray long sleeve shirt
appearing to be the same shirt worn by GRADY DOUGLAS OWENS on January 6, 2021.
        JASON DOUGLAS OWENS told interviewing agents at his residence in Blanco, Texas
that he did not recall having any violent encounters with law enforcement.
        For the reasons set forth above, I submit there is probable cause to believe that OWENS
violated:
   1. 18 U.S.C. § 111(a), which makes it a crime to forcibly assault or interfere with any person
      designated in section 1114 of this title 18 while engaged in or on account of the
      performance of official duties and involved physical contact. Persons designated within
      section 1114 include any person assisting an officer or employee of the United States in
      the performance of their official duties.

   2. 18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to commit any act to
      obstruct, impede, or interfere with any fireman or law enforcement officer lawfully
      engaged in the lawful performance of his official duties incident to and during the
      commission of a civil disorder which in any way or degree obstructs, delays, or adversely
      affects commerce or the movement of any article or commodity in commerce or the
      conduct or performance of any federally protected function. (“Civil disorder” means any
      public disturbance involving acts of violence by assemblages of three or more persons,
      which causes an immediate danger of or results in damage or injury to the property or
      person of any other individual. “Federally protected function” means any function,
      operation, or action carried out, under the laws of the United States, by any department,
      agency, or instrumentality of the United States or by an officer or employee thereof; and
      such term shall specifically include, but not be limited to, the collection and distribution of
      the United States mails. 18 U.S.C. §232(1).

   3. 18 U.S.C. § l752(a) and (b), which make it a crime to (2) knowingly, and with intent to
      impede or disrupt the orderly conduct of Government business or official functions,
      engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
      building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
      orderly conduct of Government business or official functions; or (4) knowingly engage in
      any act of physical violence against any person or property in any restricted building or
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       grounds; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a
       restricted building includes a posted, cordoned off, or otherwise restricted area of a
       building or grounds where the President or other person protected by the Secret Service is
       or will be temporarily visiting; or any building or grounds so restricted in conjunction
       with an event designated as a special event of national significance; and

   4. 40 U.S.C. § 5l04(e)(2), which makes it a crime for an individual or group of individuals
      to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in
      disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
      Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of
      Congress or either House of Congress, or the orderly conduct in that building of a hearing
      before, or any deliberations of, a committee of Congress or either House of Congress; or
      (F) engage in an act of physical violence in the Grounds or any of the Capitol Buildings.
As such, your Affiant respectfully requests that the court issue an arrest warrant for OWENS. The
statements above are true and accurate to the best of my knowledge and belief.


                                                            Respectfully Submitted,

                                                            __________________
                                                            Erik Potrafka
                                                            Special Agent
                                                            Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 15th day of April 2021.



                                                    ___________________________________
                                                    ROBIN M. MERIWEATHER
                                                    U.S. MAGISTRATE JUDGE
